Case 1:03-cv-00956-BRB-RHS Document 1 Filed 08/18/03 Page 1 of 6

“ - = ae mo x
- FILE Dp
IN THE UNITED STATES DISTR

FOR THE DISTRICT OF NEW MEXICQ\ ig 18 2903 i

FRANCES ZAH, <ul ovtted

awe
7 os Plaintiff, CLERK

v. , No. CIV

UNITED STATES DEPARTMENT
OF HEALTH AND HUMAN SERVICES

TOMMY THOMPSON, and GW - 03-0956 BRB RHS
STEPHEN PETRAKIS, M.D.,
Defendants.

_. COMPLAINT FOR DAMAGES AND OTHER RELIEF
FOR EMPLOYMENT DISCRIMINATION AND DEPRIVATION OF CIVIL RIGHTS

Parties
' |. Plaintiff Frances Zah is a citizen of the United States of America and of the State

of New Mexico.

2. Defendant United States Department of Health and Human Services (“Depart-
ment” or “DHHS") is an agency established under the Constitution and laws of the United
States of America. Among other things, it operated the Indian Health Service under the
auspices of its subdivision called the “Bureau of Indian Affairs.”

. 3. Defendant Tommy Thompson is the duly appointed Secretary of the Department.
Depending on the context, and so as to afford Plaintiff the maximum relief available under
the law, this Defendant is sued in both his individual and official capacities.

4. Defendant Stephen Petrakis, M.D., was at all pertinent times the person charged
by the Department and Thompson with administering the unit of the Indian Health Service in

which Plaintiff was at all pertinent times employed.
Case 1:03-cv-00956-BRB-RHS Document1 Filed 08/18/03 Page 2 of 6

Jurisdiction and Venue

5. This Court has jurisdiction because the rights, privileges, and immunities sought to
be redressed herein are those secured by:

(a) the employment-discrimination prohibitions of Title VII of the Civil Rights
Acts of 1964 and 1991, with particular reference to 42 U.S.C. §§ 2000¢e et seq., and guidelines
and regulations promulgated thereunder;

(b) the Equal Protection and Due Process Clauses of the First and Fifth
Amendments to the United States Constitution, as implemented by 42 U.S.C. §1981, 1983
and 1985 and applicable to federal defendants per the decision in Bivens v. Six Unknown
Named Agents of the Federal Bureau of Narcotics, 403 U.S. 788, (1971) and progeny; and by

(c) 28 U.S.C. §§ 2201 and 2202 (declaratory relief).

6. Venue is proper because all acts and omissions complained of took place within the
State of New Mexico, because Plaintiff is a resident of New Mexico, and because Defendants

employed Plaintiff to work in their facilities in New Mexico.

Allegations Common To All Counts

7. Plaintiff is a registered member of thé Navajo Tribe of Native Americans, as recog-
nized by the U.S. Bureau of Indian Affairs.

8. Plaintiff has been employed by Defendants as a Physician Assistant in the U.S.
Indian Health Service for more than a decade.

9. At a point to be determined more precisely at trial, she fell under the supervision

of Stephen Petrakis, M.D.
Case 1:03-cv-00956-BRB-RHS Document1 Filed 08/18/03 Page 3 of 6

10. From that time until her constructive discharge in 2003, and because she is a
Navajo and female, Plaintiff was subjected to disparate treatment and a hastile work environ-
ment that was created, encouraged, and facilitated by Petrakis, and by others acting under his
supervision and either with his conspiracy and connivance, or with his knowing and willful
tolerance of their anti- Navajo and anti-female conspiracy and connivance to discriminate
against Plaintiff and to subject her to an ongoing hostile work environment.

11. Plaintiff duly and timely filed various race/national origin/gender discrimination
complaints with Defendants Department and Thompson through their subordinate agencies
as required by federal regulations, culminating in an appeal of various adverse decisions to the
United Stated Equal Opportunity Commission (“EEOC”).

12. The EEOC has had the case before it for adjudication for more than 180 days.

COUNT [: RACE/NATIONAL AND/OR GENDER DISCRIMINATION BY DHHS
(TITLE VII, CIVIL RIGHTS ACT OF 1964 AS AMENDED)

13. Plaintiff incorporates paragraphs | through 12 here as if fully set forth.

. 14. DHHS is an employer within the meaning of 42 U.S.C, §2000e (b). It emplovs
more than 500 employces.

15. All acts and/or omissions complained of herein were engaged in by duly authorized
agents of the Department, each purporting to act within the scope and course of his or her
employment.

16. The disparate treatment of Plaintiff and the continuous hostile work environment

to which she was subjected were motivated by impermissible and unlawful discrimination
Case 1:03-cv-00956-BRB-RHS Document1 Filed 08/18/03 Page 4 of 6

against Plaintiff based on her race/national origin (Native American/Navajo) and gender
(female).

17. Plaintiff has suffered damages in the form of, among other things, lost compensa-
tion, loss of career opportunities, and severe mental and cmotional distress, as a direct result
of the discriminatory action alleged above.

18. The discrimination alleged in the preceding paragraphs was knowing, intentional,
malicious, willful and in blatant disregard of rights guaranteed to Plaintiff under ‘Title VII of
the Civil Rights Act of 1964, as amended, to be free from discrimination on the basis of race
and/or national origin.

19. Because DHHS unlawfully discriminated against Plaintiff in her employment, it is
liable to Plaintiff for:

(a} compensatory damages for past and future lost carnings, lost career oppor-
tunities, humiliation, emotional distress, damage to reputation, loss of the enjoyment of life,
and other injuries to be proved at trial;

(b) attorney's fees and costs;

(c) pre- and post-judgment interest; and

(d) such other relief as this Court deems just and proper.

rr lee

 
Case 1:03-cv:00956-BRB-RHS Document 1 Filed 08/18/03 Page 5 of 6

COUNT II: DEPRIVATION OF CIVIL RIGHTS (§1981, 1983, 1985)

20: Paragraphs 1 through 12 and 13 through 1& are incorporated here by reference as
if fully set forth.’

21.. At least as early as the decision in Navajo Nation v. State of New Mexico, 975
F.2d 741 (10° Cir. 1992), it was clearly established law that Navajos are a protected group
for purposes of the. Constitution and civil rights laws of the United States.

22. Defendants’ conduct, including but not limited to that of Petrakis, as alleged
above was knowing, intentional, malicious, willful, and in blatant disregard of rights guaran-
teed to Plaintiff under 42 U.S.C. §1981, 1983 and 1985.

23. Because Defendants discriminated against Plaintiff as described above:

(a) Defendants Thompson and Petrakis in their individual capacities are liable
to Plaintiff for compensatory damages for lost earnings, lost career opportunities, humiliation,
emotional distress, damage to reputation, loss of the enjoyment of life, and other injuries;

(b) Defendants Thompson and Petrakis in their individual capacities are liable

to Plaintiff for punitive damages sufficient to punish them for, and to deter their agents and
others from, such malicious, willful, unlawful and reckless conduct;
— (c) Defendants Thompson and Petrakis in their individual capacities are liable
for Plaintiff's reasonable attorney's fees and costs; and
(4) Defendants should be ordered to provide such other relief as this Court

deems just and proper.
Case 1:03-cv-00956-BRB-RHS Document 1 Filed 08/18/03 Page 6 of 6

Prayer for Relief
WHEREFORE Plaintiff requests that this Court grant the following relief:

A, “A judement declaring that Defendants violated Title VII of the Civil Rights Acts of
1964 and 1991 as.amended, and deprived Plaintitf of her civil rights under 42 U.S.C §1981],
1983, and/or 1985.
Oo - B. Compensatory damages in an amount to be proved at trial for past and future floss
‘of earings; loss of career potential; loss of the enjoyment of life; loss of reputation; humilia-
tion ; and mental aid emotional distress.
C. Punitive dam ages against the individual Defendants for the violations of §1981,

. . 1983 and/or 1985.
: D. Plaintiffs costs, including any expert fees reasonably and necessarily incurred
. in thé action:
UE: Plaintiff's reasonable attorney fees.

FS “Pre: and post-judgme nt interest.

G. “Such ier and furttier eal and equitable relief as the Court deems just.

 

pe Sen! Respectfully,
. or ~ - ~ “Herbert M. “Silverberg s

- 318 Solano Drive, S.E.
Albuquerque, New. Mexico 87108-2650
(505) .265-6565
Attorney for Plaintiff

—§—
